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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                        24-cr-542 (AS)
        v.

 SEAN COMBS,

                           Defendant.



                     DECLARATION OF TENY GERAGOS KRISHNASWAMY

       I, Teny Rose Geragos Krishnaswamy, declare as follows:

       1.        I am a partner at Agnifilo Intrater LLP, counsel for Sean Combs. I am licensed and

in good standing to practice law in the States of New York and California and I am also admitted

to the United States District Court for the Southern District of New York.

       2.        The declaration is based on my personal knowledge of the facts stated herein, my

review of the discovery produced to the defense thus far and is submitted in support of Mr. Combs’

Motion To Suppress Evidence Obtained Through Search Warrants, Or In The Alternative, For a

Franks Hearing, and his Reply in support of that Motion.

       3.        Mr. Combs’s Reply in support of his Motion cites

                               Like                                                      cited in Mr.

Combs’s Motion To Suppress,                                    were in the government’s possession

at the time it sought the challenged warrants. True and correct copies of

            are attached to this declaration as Exhibits 34-37. Exhibits 34-36



(USAO_00000078). However, discovery the government has provided since the defense’s original

motion indicate                                                                                     .
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(USAO_01164649-01164658.) Exhibit 37

                                            .

         4.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated:          March 10, 2025
                New York, NY

                                                     /s/ Teny Geragos
                                                     Teny Rose Geragos, Esq.




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